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6
     Attorneys for Defendants
7
8                        IN THE UNITED STATES DISTRICT COURT
9                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                               SAN FRANCISCO DIVISION
11
12   FOOD & WATER WATCH, INC, et al.,           Case No.: 17-cv-02162-EMC
13                         Plaintiffs,          FEDERAL DEFENDANTS’
14                                              NOTICE OF UNOPPOSED MOTION
                    v.                          AND UNOPPOSED MOTION TO STAY
15                                              CASE IN LIGHT OF LAPSE OF
     U.S. Environmental Protection Agency,      APPROPRIATIONS
16   et al.,
17                                              ***Parties Do Not Request a Hearing***
                           Defendants.
18                                              DATE: February 7, 2018
19                                              TIME: 1:30 pm
                                                Courtroom: 5, 17th Floor
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                                                              CASE NO. 17-CV-02162-EMC
                                                    DEFENDANTS’ MOTION TO STAY CASE
             Case 3:17-cv-02162-EMC Document 82 Filed 12/28/18 Page 2 of 4




1                               NOTICE OF UNOPPOSED MOTION
2
3              Please take notice 1 that on February 7, 2018 at 1:30 p.m. or as soon thereafter as

4    counsel can be heard, Defendants United States Environmental Protection Agency and
5    the EPA Administrator, in his official capacity, will move this Court, located in
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     Courtroom 5, 17th Floor, United States Court House located at 450 Golden Gate Avenue,
7
     San Francisco, California, to stay the present litigation in light of a lapse of
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9    appropriations.

10                                     ISSUE TO BE DECIDED
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               Whether a stay and extension of all deadlines in this matter should be provided
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     due to the lapse of appropriations.
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         This motion is unopposed and no hearing is requested; the parties jointly request the
28   motion be decided on the papers.



                                                                       CASE NO. 17-CV-02162-EMC
                                                             DEFENDANTS’ MOTION TO STAY CASE
          Case 3:17-cv-02162-EMC Document 82 Filed 12/28/18 Page 3 of 4




1
2                    MEMORANDUM OF POINTS AND AUTHORITIES
3           The United States of America hereby moves for a stay of the entire case in the
4    above-captioned matter.
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            1.      At the end of the day on December 21, 2018, the appropriations act that
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     had been funding the United States Department of Justice (the “Department”) expired and
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8    appropriations to the Department lapsed. The same is true for several other Executive

9    agencies, including the federal Defendant United States Environmental Protection
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     Agency (“EPA”). The Department does not know when funding will be restored by
11
     Congress.
12
            2.      Absent funding, Department of Justice attorneys and EPA employees are
13
14   prohibited from working, even on a voluntary basis, except in very limited circumstances,

15   including “emergencies involving the safety of human life or the protection of property.”
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     31 U.S.C. § 1342.
17
            3.      Undersigned counsel for the Department of Justice therefore requests a
18
19   stay of the case until Congress has restored appropriations to the Department and EPA.

20          4.      If this motion for a stay is granted, undersigned counsel will notify the
21   Court as soon as Congress has appropriated funds for the Department and EPA. The
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     Government requests that, at that point, all current deadlines for the parties be extended
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     commensurate with the duration of the lapse in appropriations.
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25          5.      Opposing counsel has authorized undersigned counsel to state that the

26   Plaintiffs have no objection to this motion. The parties jointly agree that this motion
27   should be decided on the papers.
28
          Case 3:17-cv-02162-EMC Document 82 Filed 12/28/18 Page 4 of 4




1           Therefore, although we greatly regret any disruption caused to the Court and the
2    other litigants, the Government hereby moves for a stay of the entire case until
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     Department attorneys and EPA employees are permitted to resume their usual functions.
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6
     Dated: December 28, 2018                             Respectfully submitted,
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8                                                         /s/ Deborah J. Carfora.
9                                                         DEBRA J. CARFORA.
                                                          Environmental Defense Section
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13                                                        Attorneys for Defendants
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